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FoR THE wEsTERN pisTRicT oF TENNEssE
wEsTERN oivisioN 55 JU'- 22 P" '*' 05
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uNiTED sTATEs oi= AMERicA w §§ ;; §§§CMW

P|aintiff

VS.
CR. NO. 05-20102-D

BR|AN EDWARD SLAYTON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that timel counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursdz=\g¢l August 25, 2005l at 9:00 a.m., in Courtroom 3 9th F|oor of
the Federa| Bui|ding, Memphis, TN.

 

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(S)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this g/;S day of Ju|y, 2005.

,,.,L,Z/
B N|CE B. DO ALD

UN|TED STATES D|STRlCT JUDGE

Thls document entered on the dockets c
with Fiuie 55 and/or 32(b) FRCrP on a

UNITED sATE ISTRICT COURT - WTERN DISTRCT OFTENNESSEE

    

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This notice confirms a copy of the document docketed as number 26 in
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Honorable Berniee Donald
US DISTRICT COURT

